                Case 1:18-cv-11642-VM-DCF Document 172-3 Filed 10/14/20 Page 1 of 3




                               Cho Legal Group LLC
                               100 Plainfield Avenue
                               2d Floor, Ste 8E
                               Edison, NJ 08817
                               USA

                               Attention: Jae H. Cho

                                                                                                                10 September 2020
4th Floor
Harbour Centre                 Our Ref: 1649/20
42 North Church Street         Sent by: Email only
P.O. Box 2255
Grand Cayman
KY1-1107                       Dear Mr Cho,
Cayman Islands

Tel: 1-345-949-0003            Re: China AI Capital Limited
markrussell@ksglaw.ky
                                   Subscription Agreement with Link Motion Inc.
www.ksglaw.ky
                               We refer to your letter dated 4 September 2020, received by us on 8
                               September 2020, in response to our letter to China AI dated 25 August 2020.
                               We confirm that China AI’s registered agent in the BVI received a hardcopy
                               of our letter on 28 August 2020. We adopt the defined terms used in our 25
                               August 2020 letter.

                               In your letter, you state that China AI and Link Motion agreed to stay China
                               AI’s obligations under the Subscription Agreement. There is no such
                               agreement. You provide no evidence for this agreement or any details on the
                               terms on which such stay was premised. In any event, an indefinite stay of
                               your client’s obligations would necessarily be terminable on reasonable notice,
                               particularly where China AI has enjoyed the benefit of the Shares for more
                               than two years having only paid 50% of the subscription price.

                               It also appears that you have misunderstood the terms on which the Receiver
                               is prepared to agree to a Closing. The Receiver cannot give the
                               representations and warranties set out in section 3 of the Subscription
                               Agreement, including those at items (h) and (o). That is why the proposal set
                               out in our letter requires China AI to waive the closing condition at section
                               2(d)(viii). Nor is the Receiver in a position to provide China AI with the
                               financial statements and business plan that you request. This material is
                               simply unavailable to the Receiver given the activities and conduct of former
                               management who have continually acted to obstruct the Receiver’s access to
                               corporate records.




         KSG Attorneys at Law is a body corporate under the Legal Practitioners (Incorporated Practice) Regulations 2006 (as revised) of the
         Cayman Islands and is incorporated in the Cayman Islands as an ordinary company as KSG Attorneys Ltd.
       Case 1:18-cv-11642-VM-DCF Document 172-3 Filed 10/14/20 Page 2 of 3



                     Similarly, your stated concern about the Receiver’s authority to ensure that
                     China AI’s nominees are appointed as directors is misplaced. As a matter of
                     Cayman Islands law, Link Motion itself could not have ensured that those
                     nominees would be appointed directors absent a binding voting agreement
                     between sufficient shareholders or an amendment to the company’s Articles
                     of Association. Your client took on this contractual risk when originally entering
                     into the Subscription Agreement and cannot now use it to escape from the
                     consequences.

                     Notwithstanding the above, given your confirmation that China AI “stands
                     ready and willing to make the Closing Payment of $10,000,000 upon mutually
                     agreeable terms”, we take this opportunity to confirm the terms that would
                     satisfy the Receiver:

                     1.       China AI waives the closing conditions set out in sections 2(d)(ii)
                              through (vi), and 2(d)(viii), of the Subscription Agreement.

                     2.       As evidence that China AI has the financial resources to make the
                              Closing Payment, China AI pays US$10,000,000 into the Receiver’s
                              Cayman Islands attorneys USD trust account, to be held in escrow, by
                              5pm Cayman Islands time on 16 September 2020. Payment details are:


                                Bank                                            Butterfield Bank (Cayman)
                                                                                Limited
                                SWIFT/BIC                                       BNTBKYKYXXX
                                Beneficiary Name and                            KSG Attorneys Ltd
                                Address                                         4th Floor Harbour Centre
                                                                                42 North Church Street
                                                                                PO Box 2255
                                                                                Grand Cayman KY1-1107
                                                                                Cayman Islands
                                Beneficiary Account                             8401645760038
                                Number
                                Beneficiary Reference                           01649/MR
                                Number


                     3.       AI and the Receiver entering into a formal agreement to document the
                              Closing within 20 business days of receipt of the US$10,000,000 as
                              above. The formal agreement will include customary representations
                              and warranties for a transaction of this nature from China AI, including
                              those currently set out in the Subscription Agreement and as to the legal
                              and beneficial ownership of China AI. As the Receiver has been
                              appointed by the courts, the formal agreement may be subject to
                              approval by an appropriate court.


KSG Attorneys at Law is a body corporate under the Legal Practitioners (Incorporated Practice) Regulations 2006 (as revised) of the
Cayman Islands and is incorporated in the Cayman Islands as an ordinary company as KSG Attorneys Ltd.
       Case 1:18-cv-11642-VM-DCF Document 172-3 Filed 10/14/20 Page 3 of 3



                     4.       On Closing, the Receiver will cause Link Motion to update its register of
                              members to show the Shares as fully paid and deliver a copy of the
                              register of members to China AI.

                     5.       If a formal agreement cannot be agreed in the timeframe stated at item
                              3 above, the US$10,000,000 will be promptly returned to China AI
                              without deduction save for any applicable bank fees or service charges.

                     If China AI is not prepared to move forward on this basis, the Receiver will
                     take immediate steps to forfeit the Unpaid Shares in accordance with Link
                     Motion’s rights and powers under the Subscription Agreement and the Articles
                     of Association.

                     All the Receiver’s and Link Motion’s rights are reserved.

                     Yours faithfully




                     KSG Attorneys at Law




KSG Attorneys at Law is a body corporate under the Legal Practitioners (Incorporated Practice) Regulations 2006 (as revised) of the
Cayman Islands and is incorporated in the Cayman Islands as an ordinary company as KSG Attorneys Ltd.
